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                                 UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


  VANNUCCI NICHOLLE, et al.,                        Case No. 18-cv-01955-VC
                   Plaintiffs,
                                                    ORDER DENYING REQUEST FOR
              v.                                    EMERGENCY RELIEF
  COUNTY OF SONOMA, et al.,                         Re: Dkt. No. 115
                   Defendants.



       The plaintiffs seek emergency relief based on the defendants’ decision to begin closing

the encampment on the Joe Rodota Trail without yet having offered adequate housing

alternatives to every person currently camping there. The plaintiffs are concerned that the

defendants will remove some campers from the trail even if those campers are not offered

adequate alternatives. The plaintiffs are further concerned that the defendants may invoke the

injunction’s “immediate hazard or obstruction” section to remove campers despite the absence of

any real hazard or obstruction. For example, the plaintiffs posit a scenario in which a substantial

number of campers have been placed in adequate housing alternatives but the few campers

remaining on the trail are nonetheless removed based on the hazard/obstruction exception even

though the truly immediate hazard—created by the 250-person encampment—will have been

alleviated.

       Although these are plausible concerns, they are not sufficiently concrete to warrant

emergency judicial intervention. For example, the injunction does not require the defendants to

identify and offer housing to every encampment resident before initiating the process of clearing

the encampment; indeed, compliance with any such requirement would almost certainly be
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impossible. And although it may well violate the injunction to invoke the hazard/obstruction

exception based on dangers that have largely been alleviated, the defendants have not stated an

intention to take this approach. Rather, they have stated an intention to offer an adequate housing

alternative to each camper before taking enforcement action against that camper, which would be

consistent with the injunction to which the parties have agreed.

       Accordingly, the plaintiffs’ request for emergency relief is denied. This denial does not

preclude the plaintiffs from attempting to establish a violation of the injunction after the fact.

       IT IS SO ORDERED.

Dated: January 29, 2020
                                               ______________________________________
                                               VINCE CHHABRIA
                                               United States District Judge




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